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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                                 Criminal No. 17-64 (DWF/KMM)

                     Plaintiff,
                                                                                       ORDER
v.

Edward S. Adams,

                     Defendant.


       This matter is before the Court upon the Parties’ Joint Motion to Exclude Time

Under the Speedy Trial Act and accompanying Statement of Facts in Support of Motion

(Doc. Nos. [234] & [235]).

       Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice

served by the granting of such continuance outweigh the best interest of the public and

the Defendant in a speedy trial. This finding is based on the facts set forth in the

accompanying motion.

       Accordingly, IT IS HEREBY ORDERED that:

       1.     The Motion to Exclude Time Under the Speedy Trial Act (Doc. No. [234])

is GRANTED. The trial in this matter shall be held on November 4, 2019, at 9:00 a.m.,

in Courtroom 7C, 7th Floor, Warren E. Burger Federal Building and United States

Courthouse, 316 North Robert Street, St. Paul, Minnesota.
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       2.     The pretrial conference shall be held on October 24, 2019 at 1:30 pm,

Courtroom 7C, 7th Floor, Warren E. Burger Federal Building and United States

Courthouse, 316 North Robert Street, St. Paul, Minnesota.

       3.     Counsel must adhere to the following schedule regarding the submission of

trial documents:

              a.     All trial documents, including trial briefs, motions in limine,

       voir dire questions, witness lists, exhibit lists and proposed Jury Instructions

       shall be submitted, pursuant to the Electronic Case Filing Procedures for the

       District of Minnesota/Criminal and according to the directives of the

       Honorable Donovan W. Frank, no later than 4:30 p.m. on October 17, 2019;

              b.     By the same date, proposed exhibit and witness lists, Jury

       Instructions, and voir dire questions (in Word or WordPerfect format) shall

       be e-mailed to the chambers e-mail box

       (Frank_Chambers@mnd.uscourts.gov); and

              c.     By the same date, counsel for the prosecution shall submit a

       copy of the indictment or information (in Word or WordPerfect format) to the

       chambers e-mail box. (Frank_chambers@mnd.uscourts.gov)

       4.     Two courtesy copies of all trial documents, and one courtesy copy of all

trial exhibits, shall be contemporaneously provided to the Court.




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      5.     The period from January 28, 2019 through October 21, 2019 shall be

excluded from the Speedy Trial Act computations in this case.

Dated: December 19, 2018                    s/Donovan W. Frank
                                            DONOVAN W. FRANK
                                            United States District Judge




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